825 F.2d 410
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.George BENNETT, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 86-1626
    United States Court of Appeals, Sixth Circuit.
    July 31, 1987.
    ORDER
    
      1
      Before KENNEDY and NELSON, Circuit Judges, WEBER, District Judge.*
    
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      It is ORDERED that the judgment of the magistrate and the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    
      
        *
         Honorable Herman J. Weber, United States District Judge, Southern District of Ohio, sitting by designation
      
    
    